                                                              United States Bankruptcy Court
                                                                Northern District of Ohio
In re:                                                                                                                 Case No. 17-12989-aih
Darnell L. Pinkney                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0647-1                                                  User: ejone                                                                 Page 1 of 1
Date Rcvd: Jun 01, 2022                                               Form ID: 140                                                               Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 03, 2022:
Recip ID                 Recipient Name and Address
cl                     + Aspen Discovery LLC Assignee to Darnell L. Pinkney, 18 Grandview Dr, Wayne, NJ 07470-4115

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 03, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 1, 2022 at the address(es) listed below:
Name                               Email Address
D. Anthony Sottile
                                   on behalf of Creditor Bridgecrest Credit Company LLC bankruptcy@sottileandbarile.com

Richard A. Baumgart
                                   on behalf of Plaintiff Richard Baumgart rbaumgart@dsb-law.com

Richard A. Baumgart
                                   on behalf of Trustee Richard A. Baumgart rbaumgart@dsb-law.com

Richard A. Baumgart
                                   baumgart_trustee@dsb-law.com rbaumgart@ecf.axosfs.com

Walter V. Landow
                                   on behalf of Debtor Darnell L. Pinkney landowlaw@att.net wlandow24@yahoo.com


TOTAL: 5




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                                          United States Bankruptcy Court
                                            Northern District Of Ohio
                                           Notice of Filing Deficiency

    To: Aspen Discovery LLC                                              Case Number: 17−12989−aih
    Debtor(s): Darnell L. Pinkney                                        Judge: ARTHUR I HARRIS

The items marked below are deficient and must be corrected by 6/13/2022, or this matter may be referred to
the Judge for further consideration.

   Adversary filing incomplete. Need           Cover Page/Worksheet          Request for Summons       See Comments.

   Affidavit needs:       notary seal/stamp/commission expiration              signature     county/state

   Attachments/Exhibits:          not filed      incorrect or not relevant to filing

   Attorney name block is missing, or does not include attorney's full name, firm, address, telephone number, and
   attorney registration number.

   Case:       closed     dismissed        transferred

   Certificate of Service indicating name, address of parties served, and the date of service was not filed.

   Certificate of Service − Chapter 13 Plan: Debtor failed to comply with Bankruptcy Rule 3012(b) and Local
   General Order 17−1, providing the debtor must serve creditor in the manner provided for service of a summons
   and complaint under Bankruptcy Rule 7004, as well as provide a certificate of service "that includes the date
   and method of service and the identity by name and address of each entity served, consistent with Local
   Bankruptcy Rule 9013−3."

   Document:        case# incorrect       caption incorrect       Judge incorrect

   ECF event used is incorrect.        Resubmit the document using the correct code. See the ECF Search Menu.

   Employee income records and/or proof of no income received 60 days preceding case filing were not filed.

   Fee due in the amount of $          Fee deleted by the filer. Resubmit the pleading and pay the fee.

   Form B121 required.

   Hearing:      notice not filed       time, date, and/or location are incorrect

   Installment Application:         dates incorrect      fee incorrect      exceeds 120 day limit

   Official Form B423 must be filed, or the case may be closed without the discharge order.

   Order Regarding:

   Petition:     incorrect Official Form        missing document(s):

   Petition for Unclaimed Funds does not comply with LBR 3011−1. Please reference the LBR for guidelines.

           Proof of deposit is not attached to the petition (e.g., copy of receipt and attached list of parties
           entitled to funds; unclaimed funds search web page; or other supporting documents).




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          Exhibit A is not attached     Full Tax ID/Social Security Number is not attached to Exhibit A

          incorrect identification

   Signature Declaration missing.

   Signature must be:       original    /S/ signature for     attorney     debtor     creditor

   Other Deficient Matter(s): Section 10 (Service) does not indicate the date of service.

Comments/Instructions

Deputy Clerk: /s/Erick Jones     Date: June 1, 2022

Form: ohnb140




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